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                       UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS



The Charitable DAF Fund, L.P.
Plaintiff
V.
                                                                3 :22-cv-02280-S
                                                                Civil Action No.
Highland Capital Management, L.P.
Defendant

       CERTIFICATE OF INTERESTED PERSONS/DISCLOSURE STATEMENT
                                (This form also satisfies Fed. R. Civ. P. 7.1)

Pursuant to Fed. R. Civ. P. 7.1 and LR 3.l(c), LR 3.2(e), LR 7.4, LR 81.l(a)(4)(D), and LR 81.2,


The Charitable DAF Fund, L.P.


provides the following infonnation:
       For a nongovernmental corporate party, the name(s) of its parent corporation and any
publicly held corporation that owns 10% or more of its stock (if none, state "None"):
*Please separate names with a comma. Only text visible within box will print.


None




        A complete list of all persons, associations of persons, firms, partnerships, corporations,
guarantors, insurers, affiliates, parent or subsidiary corporations, or other legal entities that are
financially interested in the outcome of the case:
*Please separate names with a comma. Only text visible within box will print.


The Dallas Foundation, Greater Kansas City Community Foundation, Santa Barbara
Foundation, The Community Foundation of North Texas (CFNT), Highland Dallas Foundation,
Inc., Highland Kansas City Foundation, Inc., Highland Santa Barbara Foundation, Inc., HCMLP
Charitable Fund, Charitable DAF Holdco, Ltd., Charitable DAF Fund, L.P., CLO Holdco, Ltd.
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NOTE: To electronically file this document, you will find the svent in our Case Management (CM/ECF) system, under Civil :>   Other
Documents :>   Certifi cate of Interested Persons/Disclosure Statement.
